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THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF KENTUCKY

OWENSBORO DIVISION

LWD PRP GROUP, )
)

Plaintiff, )

)

. v. ) Civil Action No. 5:12-CV-00127-
) JHM-HBB

ACF INDUSTRIES LLC, et al. )
Defendants. . )

AFFIDAVIT IN SUPPORT OF REQUEST FOR ENTRY OF
DEFAULT AS TO DEFENDANT PARADIGM AEROSPACE CORP.

STATE OF KANSAS -)
) SS.

COUNTY OF JOHNSON _ )

Gary D. Justis, lead counsel for Plaintiff LWD PRP Group (“Plaintiff”), being duly
sworn, hereby deposes and states as follows:

1. I am lead counsel for Plaintiff in the instant action.

2. This is a civil action pursuant to the provisions of the Comprehensive
Environmental Response, Compensation and Liability Act of 1980, as amended, 42 U.S.C. §
9601, et seq. and Kentucky Revised Statutes § 224.01-400, for recovery of past and future costs
incurred and io be incurred by Plaintiff at the LWD Incinerator Site in Calvert City, Marshall
County, Kentucky,

3. Defendant Paradigm Aerospace Corp. (“Paradigm Aerospace”) was named in
Plaintiff's First Amended Complaint filed on January 30, 2013 (Dkt. No. 581), as well as

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Plaintiff's Second Amended Complaint filed on March 29, 2013 (Dkt. No. 758); and Third
Amended Complaint on February 27, 2014 (Dkt. No. 985).

4, Paradigm Aerospace was formally served on April 19, 2013 (Dkt. No. 871).

5. Paradigm Aerospace’s time to answer or otherwise move with respect to the Third
Amended Complaint has expired.

6. Paradigm Aerospace has not answered or otherwise moved with respect to the
Third Amended Complaint, and the time for Paradigm Aerospace to answer or otherwise move
has not been extended.
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7. Paradigm Aerospace is not an infant, incompetent or presently in the military
service of the United States, as to the best of my information and belief and as appears from the
facts in this litigation.

8. Paradigm Aerospace is indebted to Plaintiff by virtue of its generation of waste
streams containing hazardous substances that were disposed of at the Site, which is the locus of
this litigation. ,

WHEREFORE, Plaintiff requests that the default of Defendant Paradigm Aerospace
Corp. be noted and that a Certificate of Default be issued by the Clerk of the Court.

I declare under penalty of perjury that the foregoing 1 is true and accurate to the best of my
knowledge, information and belief.

Dated: October 15, 2014

Cay Dass
THE JUSTIS LAW FIRM I,
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- On this 15" day of October, 2014, before me, the undersigned, a Notary Public within
and for said County and State, personally appeared Gary D. Justis, to me know to be the person
described in and who executed the foregoing instrument, and acknowledged that he executed the

same of his free act and deed.

IN WITNESS WHEREOF, I have hereunto set my hand and affixed my official seal the

‘day and year last above written.
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Notary Public -

My Commission Expires:

NOTARY PUBLIC - State of Kansas
J KATHLEEN M. NOVICKY
=i My Appi. Expires

